                    IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



 JASMINE DAVIS,                                 )
                                                )
                       Plaintiff,               )
                                                )
                v.                              )                 1:19CV349
                                                )
 TRALEE AFFORDABLE PANTHER                      )
 LLC d/b/a DEERFIELD CROSSING                   )
 APARTMENTS and RAM PARTNERS,                   )
 LLC,                                           )
                                                )
                       Defendants.              )


                                         JUDGMENT

       In accordance with the Final Order contemporaneously entered and pursuant to Fed.

R. Civ. P. 23(e),

       IT IS HEREBY ADJUDGED that the Settlement set forth in the Settlement

Agreement is finally approved in all respects, and the Settlement, the Settlement Agreement,

and the plan of distribution of the Settlement funds are in all respects fair, reasonable, and

adequate, and are in the best interest of the settlement class.

       Since no member of the Settlement Classes has objected to the Settlement and there

being no just reason for delay, the Court hereby enters final judgment in this matter, and

determines that the Effective Date of the Settlement Agreement is the date of the signing of

this order. The Settlement Class members are barred and enjoined from asserting any Released

Claims. Without affecting the finality of this judgment, the Court retains continuing and

exclusive jurisdiction over all matters relating to the administration, consummation,




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enforcement, and interpretation of the Settlement Agreement and of this Final Order and

Judgment, to protect and effectuate this Final Order and Judgment, and for any other

necessary purpose.

       Pursuant to the terms of the Settlement Agreement, this action is dismissed with

prejudice as against the Class Representative, all members of the Settlement Classes and the

Defendants. The parties shall bear their own costs except as provided by the Settlement

Agreement and the Final Approval Order.

       IT IS FURTHER ADJUDGED that the Class Representative, on behalf of herself and

members of the Settlement Classes, shall be deemed conclusively to have compromised,

settled, discharged, dismissed, and released any and all rights, claims, or causes of action against

the Released Persons as provided for in the Settlement Agreement.

       This, the 22nd day of March 2021.


                                                     /s/ Loretta C. Biggs
                                                     United States District Judge




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